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                     EXHIBIT B
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17                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
18                                        SAN JOSE DIVISION

19    CHASOM BROWN, WILLIAM BYATT,
      JEREMY DAVIS, CHRISTOPHER                         Case No.: 5:20-cv-03664-LHK-SVK
20    CASTILLO, and MONIQUE TRUJILLO
21    individually and on behalf of all other            [PROPOSED] ORDER REQUIRING
      similarly situated,                                GOOGLE TO PRESERVE “RAW
22                                                       REFERER” LOGS
                     Plaintiffs,
23
       vs.
24

25     GOOGLE LLC,

26                   Defendant.

27

28                                                                       CASE NO. 5:20-cv-03664-LHK-SVK
                                    [PROPOSED] ORDER RE: GOOGLE’S PRESERVATION OF “RAW REFERER” LOGS
     Case 4:20-cv-03664-YGR Document 178-2 Filed 05/26/21 Page 3 of 3




1                                       [PROPOSED] ORDER
2            Before the Court is Plaintiffs’ request for an Order requiring Google to preserve
3     “raw referer” logs containing HTTP-entries without any X-Client-Data header information
4     (Dispute P4). Having considered Plaintiffs’ request, and good cause having been shown,
5     the Court GRANTS Plaintiffs’ request and ORDERS as follows:
6            Google shall preserve all “raw referer” logs that contain HTTP-entries without any X-
7     Client-Data header information.
8

9            IT IS SO ORDERED.
10

11 DATED: ________________________              _____________________________________

12                                              Honorable Susan van Keulen
                                                United States Magistrate Judge
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28                                                                    CASE NO. 5:20-cv-03664-LHK-SVK
                                 [PROPOSED] ORDER RE: GOOGLE’S PRESERVATION OF “RAW REFERER” LOGS
